       Case 4:10-cr-00003-JLK                Document 271 Filed 01/22/15           Page 1 of 1         Pageid#:
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                                                                                                      ATDANvIêLi,VA
%AO 247(02/08) OrderRegardi
                          ngMotionforSentenceReduction                                                      wjjpn

                                U NITED STATES D ISTRICT C OURT                                      JAN 22 2215
                                                          forthe                                    Juuh . uo        ,cu
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                                                                                                3'
                                                 WesternDistrictofVirginia                              s t.r) (.E
               United StatesofAmerica                       )
                          v.                                )
       DIANNA ROCHELLE HATCHER SAWYERS                      ) CaseNo:4:10-CR-00003-002
                                                            ) USM NO:14484-084
DateofPreviousJudgment:             06/06/2011              )                    -
(UseDateofLastAmendedJudgmentifApplicable)                  ) Defendant'sAttomey
                 OrderRegardingM otionforSentenceReductionPursuantto18U.S.C.j3582(*42)
        Uponmotionof r?-lthedefendantU71theDirectoroftheBureauofPrisonsr71thecourtunder18U.S.C.
j3582(4(2)forareductionintheterm ofimprisonmentimposedbasedonaguidelinesentencingrangethathas
subsequently been lowered andm aderetroactive by theUnited StatesSentencing Commission pursuantto 28 U.S.C.
j994(u),andhavingconsideredsuchmotion,
IT IS ORDERED thatthemotion is:
        Z1DENIED. R GRANTED andthedefendant'spreviouslyimposedsentenceofimprisonment(asrefl
                                                                                          ectedin
                          thelastjudgmentissued)of                       monthsisreduced to                                .
1. COURT DETERM INATION OF GUIDELINE RANGE (PriortoAnyDepartures)
PreviousOffenseLevel:                     Am ended OffenseLevel:
CriminalHistory Category:                 Crim inalHistory Category:
PreviousGuidelineRange:    to     months  Am ended GuidelineRange:                                     to           months
II. SENTENCE RELATIVE TO AM ENDED GUD ELINE RANGE
U1Thereducedsentenceiswithintheamendedguidelinerange.
U1Thepreviousterm ofimprisomnentimposedwaslessthantheguidelinerangeapplicabletothedefendantatthetime
   ofsentencing asaresultofa departureorRule35 reduction,andthereduced sentence iscomparably lessthan the
   am endedguidelinerange.
IZlOther(explain):



111. ADDITIONAL COM M ENTS
     Defendant'ssentence iswellbelow the applicable Guidelines range.Even ifDefendantwere granted a reduction
     in heroffense Ievel,i
                         twould notresul
                                       tin a Iowersentence.


Exceptasprovidedabove,a11provisionsofthejudgmentdated 06/06/2011 shallremainineffect.
IT IS SO ORDERED.                                                                                           '
                                                                                                                t
OrderDate:               01/22/2015                                                     f'
                                                                                 Judge'ssignature

Effective Date:                                                    HOn.Jackson L.Kiser,SeniorU.S.DistrictJudge
                   (ifdifferentfrom orderdate)                                  Printednameandtitle
